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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------- X
UNITED STATES OF AMERICA,                                   :   TO BE FILED UNDER SEAL1
                                                            :
                                    Plaintiff,              :
                                                            :
                  - against -                               :
                                                            :   MEMORANDUM & ORDER
KEITH RANIERE, also known as Vanguard,                      :
CLARE BRONFMAN, ALLISON MACK,                               :     18 Cr. 204 (NGG) (VMS)
KATHY RUSSELL, LAUREN SALZMAN, and :
NANCY SALZMAN, also known as Perfect,                       :
                                                            :
                                    Defendants.             :
----------------------------------------------------------- X

VERA M. SCANLON, United States Magistrate Judge:

        The Government moved for reconsideration of the Honorable Nicholas G. Garaufis’s

April 29, 2019 Order affirming this Court’s finding that Nxivm2 is not defunct and may assert

attorney-client and work-product privileges. See ECF No. 814. The Government seeks an order

finding that Nxivm is a defunct corporation, that Nxivm cannot assert any attorney-client or

work-product privilege, and that all documents that were withheld due to a privilege asserted by

Nxivm must be disclosed. See id. at 3. District Judge Garaufis referred the motion to the




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  This Order will initially be filed under seal with access only to the Court, the privilege review
team and Defendant Bronfman’s counsel. By July 6, 2020, counsel are to submit a joint proposal
as to those portions that they believe should be redacted and remain sealed with copies only to
the Court, the privilege review team and Defendant Bronfman’s counsel. Counsel should also
propose a redacted copy that may be made available to Nxivm’s counsel. The Court will
consider the proposed redactions and file the Order publicly with appropriate redactions if
necessary.
2
 The Government’s submission pertains to Nxivm Corporation, a Delaware corporation.
Although this Court is aware of at least four other business entities from its search of “Nxivm”
on the New York State Department of State website, the Court will not conduct a different
analysis for each Nxivm entity.

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undersigned for decision pursuant to 28 U.S.C. § 636(b)(1)(A) and Federal Rule of Criminal

Procedure 59(a).3

         For the reasons stated below, the Government’s motion is denied, and the Court adheres

to its prior decision that, for purposes of the privilege analysis, Nxivm is not a defunct

corporation and that it may assert privileges to withhold documents from production.

    I.      BACKGROUND

         This Court assumes the familiarity with the facts and procedural history of the case, but

the Court will restate pertinent facts and procedural history for ease of reference.

         In connection with its criminal investigation in this case, the Government seized and

searched Defendant Bronfman’s email account. The Government and Defendant Bronfman

disputed whether 249 of the seized documents were protected from disclosure by either the

attorney-client privilege or work-product privilege. See ECF No. 363.4 One of the arguments



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  The Government directed the motion for reconsideration to District Judge Garaufis, but the
motion was referred to this Court for decision, instead of a report and recommendation, because
it involves reconsideration of a non-dispositive discovery dispute. See ECF No. 136 and Dkt.
Entry 9/13/2018 (designating the undersigned to determine all discovery issues); 28 U.S.C. §
636(b)(1)(A); Fed. R. Crim. P. 59(a). This Court does not decide whether reconsideration of the
Court’s April 4, 2019 Order is procedurally appropriate, although it is doubtful. See Koehler v.
Bank of Bermuda Ltd., No. M18-302, 2003 WL 466206, *1 (S.D.N.Y. Feb. 21, 2003) (“Unlike
motions for reconsideration of district judges’ orders, provided for by Local Civil Rule 6.3, there
is no provision in the governing statute or the rules of procedure for motions for reconsideration
to be made to magistrate judges. On the contrary: the plain wording of statute and rule requires
that objections to a magistrate judge's nondispositive order be timely made to the district judge
assigned to the case.”).
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 At issue were whether Nxivm was entitled to assert privilege over approximately 575 of the
documents recovered by the Government from 8 Hale Drive, Clifton Park, New York, and
whether Defendant Bronfman was entitled to assert privilege over approximately 305 documents.
See, e.g., ECF Nos. 512; 524; 548; 570; 578. According to a letter submitted by Defendant
Bronfman’s counsel, the Government did not seek to litigate the issue of privilege over the
disputed 8 Hale Drive documents or the remaining Defendant Bronfman documents. See ECF
No. 598. The Court did not make any determination as to these documents.
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made by the Government in support of disclosure was that Nxivm is the privilege holder and,

because Nxivm suspended its operations, it could not assert privilege on its behalf to protect the

documents from disclosure. See ECF No. 448-1 at 4. In Orders dated April 4, 2019, April 6,

2019, and April 8, 2019, this Court determined that most of the 249 documents in dispute were

privileged and should be withheld from the Government. See ECF No. 502, redacted at ECF No.

542; ECF No. 505, redacted at ECF No. 543; ECF No. 507, redacted at ECF No. 544. As part of

the April 4, 2019 Order, this Court rejected the Government’s argument that Nxivm’s alleged

suspension of operations warranted disclosure of the 249 documents. See ECF No. 502 at 3,

redacted at ECF No. 542. This Court held that the Government had not shown that Nxivm was

defunct, and that Nxivm’s counsel, Michael Sullivan, and executive board member, Defendant

Bronfman, could assert privileges on Nxivm’s behalf. See id. at 2-3.

       The Government appealed the Order to District Judge Garaufis. See ECF No. 552. The

Government argued that: (i) Defendant Bronfman failed to meet her burden of showing her

authorization to assert privileges on Nxivm’s behalf, and (ii) Nxivm was defunct as a matter of

fact. See id. In opposition, Mr. Sullivan argued that Nxivm exhibited practical business

functions, including the power to retain counsel to represent it and advocate on its behalf. See

ECF No. 584, redacted at ECF No. 585. Defendant Bronfman echoed Mr. Sullivan’s contention

that Nxivm was not a defunct corporation. See ECF No. 586.

       Upon review of this Court’s Orders and the respective submissions of the Government,

Defendant Bronfman and Mr. Sullivan, District Judge Nicholas G. Garaufis affirmed this Court’s

Order. See ECF No. 601, redacted at ECF No. 640. The Court held that Nxivm was not defunct

because it had an existing executive board that governed its affairs and that Nxivm had been

responding to grand jury subpoenas, paying normal operating costs, maintaining files and storage



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facilities, and filing tax returns. See id. at 5-6. The Court also noted that Mr. Sullivan had the

power to assert or waive any applicable lawful privilege on behalf of Nxivm, and that Defendant

Bronfman did not have the power to unilaterally waive any privilege. See id. at 6.

       On May 24, 2019, Mr. Sullivan submitted another declaration. See ECF No. 669. He

stated that, “[he] was retained by NXIVM Corp. in April 2018 to represent the interests of the

company in connection with investigations or possible governmental investigations into NXIVM

and related and affiliated companies.” Id. ¶ 12. According to Mr. Sullivan, at a board meeting at

which a quorum was present, the board voted to delegate to him the power to assert any

applicable lawful privilege, or to waive privilege, on behalf of the corporation. Id. ¶ 19. Mr.

Sullivan stated that this delegation of authority had not been revoked since the board meeting on

December 19, 2018. Id. ¶ 20. In addition, the corporation’s day-to-day operations allegedly had

continued. Id. ¶ 21. Such operations included responding to two grand jury subpoenas served

upon NXIVM Corp. and related entities by the Government, to which NXIVM Corp., through

Mr. Sullivan, responded. Id. ¶ 23. Mr. Sullivan affirmed that, as late as the week of May 13,

2019, he had paid invoices on behalf of NXIVM. Id. ¶ 26.

       Now before this Court is the Government’s motion for reconsideration of the Court’s

finding that Nxivm is not defunct and that it may assert privileges. See ECF No. 814. The

Government’s motion is based on developments in a case in the United States District Court for

the District of New Jersey, Nxivm v. Sutton, No. 06 Civ. 1051 (KSH) (the “New Jersey

Action”). See id. at 2. First, the Government relies on an opinion written by the Honorable

Katharine S. Hayden after holding a bench trial between Nxivm and cross-claimant Interfor, Inc.,

in the New Jersey Action (the “Opinion”). See ECF No. 814-1. Judge Hayden notes, as dicta in

the introduction to the Opinion, “that NXIVM is no longer in operation.” See id. at 3. Judge



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Hayden observed that Keith Raniere and Nancy Salzman were indicted in the Eastern District of

New York, that Ms. Salzman pled guilty, and that Mr. Raniere was convicted by a jury. See id.

Judge Hayden made findings of fact and conclusions of law on Interfor, Inc.’s cross-claim. See

id.

       Second, the Government relies on declarations submitted by Nxivm’s counsel, Robert D.

Crockett and Chase T. Tajima, in the New Jersey Action in support of their motion to withdraw

as counsel. See ECF No. 814-2. In Mr. Crockett’s declaration, he stated that “[t]he Crockett

Firm has received no instructions from any representative of NXIVM or Ms. Salzman indicating

how we should proceed. The Crockett Firm does not expect to receive any instructions or

directions because, as noted by this Court, ‘NXIVM is no longer in operation.’” See id.,

Crockett Decl. ¶ 4. Mr. Tajima stated in his declaration that “[he] attempted to contact the

Crockett Firm’s long-time contacts at NXIVM and First Principles, Inc., as well as Ms. Salzman,

asking for guidance, direction, and instructions . . . . On August 30, 2019, one NXIVM contact

informed me that [Ms. Salzman] was no longer involved with NXIVM nor any of the decision

making and would not be providing any guidance, direction, or instructions[.]” See id., Tajima

Decl. ¶ 3. Third, the Government relies on another declaration filed by Mr. Crockett, in which

he states that, “[d]espite [his] continued efforts to contact a representative of NXIVM, [he has]

received no direction from NXIVM regarding how, or whether, to proceed[.]” See ECF No.

814-3, Crockett Decl. ¶ 3. Also included in the Government’s submission is the declaration of

Brian M. English, local counsel for NXIVM, who stated, “no instructions have been received

from representatives of NXIVM[.]” See id., English Decl. ¶ 4.

       In opposition to the Government’s motion for reconsideration, Defendant Bronfman

makes three arguments: (i) the Government does not cite a proper basis for reconsideration;



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(ii) the scope of the Government’s request should be limited to the 249 documents that were the

subject of this Court’s Orders dated April 4, 2019, April 6, 2019, and April 8, 2019; and

(iii) Defendant Bronfman has an interest in finality. See ECF No. 818. As Defendant Bronfman

has resigned from the board of Nxivm, she notes that she does not have the ability to assert or

waive privileges on behalf of Nxivm. See id. at 1. Defendant Bronfman also submits a

transcript from a telephonic conference held on October 2, 2019, before Magistrate Judge Cathy

L. Waldor in the New Jersey Action regarding the motion to withdraw by Nxivm’s counsel. See

ECF No. 818-1. At the conference, Judge Waldor asked counsel, “[W]hat do I have to show me

that NXIVM doesn’t exist anymore?” Id., 5:18-20. In response, Mr. Crockett stated, “I don’t

know if NXIVM doesn’t exist anymore.” Id., 5:21-22. Counsel for Nxivm stated that they had

been sending requests for instructions to Ms. Salzman and her criminal defense attorney, but that

they had not received a response. Id., 5:25-6:7. Counsel for cross-claimant Interfor, Inc.

informed the Court that Nxivm had authorized its attorney, Mr. Sullivan, to assert privileges on

its behalf, to which counsel for Nxivm responded that they had attempted to contact Mr. Sullivan

only once the week before the conference. Id., 6:8-8:3. Judge Waldor denied the motion to

withdraw. Id., 11:15-18.

   II.      DISCUSSION

         A. Federal Rule of Civil Procedure 54(b) And Local Criminal Rule 49.1(d) Are The
            Procedural Mechanisms For The Government’s Motion

         The Government brings this motion for reconsideration exclusively pursuant to Local

Civil Rule 6.3 on the basis that new evidence that became available after the Court’s

consideration of the prior motion would change the determination that Nxivm was not defunct

and able to assert privileges. Local Civil Rule 6.3 states, in relevant part:



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       Unless otherwise provided by the Court or by statute or rule (such as Fed. R. Civ.
       P. 50, 52, and 59), a notice of motion for reconsideration or reargument of a court
       order determining a motion shall be served within fourteen (14) days after the entry
       of the Court’s determination of the original motion, or in the case of a court order
       resulting in a judgment, within fourteen (14) days after the entry of the judgment.
       There shall be served with the notice of motion a memorandum setting forth
       concisely the matters or controlling decisions which counsel believes the Court has
       overlooked.

Local Civ. R. 6.3. This standard for reconsideration is substantially similar to the language set

forth in the Local Criminal Rule 49.1(d), which was not effective until March 1, 2012.5 Local

Criminal Rule 49.1(d) states, in pertinent part:

       A motion for reconsideration or reargument of a Court order determining a motion
       shall be filed and served within fourteen (14) days after the Court’s determination
       of the original motion. A memorandum setting forth concisely the matters or
       controlling decisions which counsel believes the Court has overlooked shall
       accompany the motion.

Local Crim. R. 49.1(d); see United States v. Baldeo, No. 13 Cr. 125 (PAC), 2015 WL 252414, at

*1 (S.D.N.Y. Jan. 20, 2015) (“[M]otions [for reconsideration] are tacitly accepted in criminal

cases . . . by virtue of Local Crim. R. 49.1(d)[.]”).

       “Prior to the adoption of Local Criminal Rule 49.1, courts in this circuit applied the

identical standard found in Local Civil Rule 6.3 of the Local Rules to motions for

reconsideration in criminal cases.” United States v. Rice, No. 96 Cr. 407 (SJF), 2015 WL

7459925, at *1 (E.D.N.Y. Nov. 24, 2015); see, e.g., United States v. Yannotti, 457 F. Supp. 2d




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  Compare Local Rules of the United States District Court for the Southern and Eastern Districts
of New York (effective Mar. 1 2012), https://img.nyed.uscourts.gov/files/local_rules/Local%
20Rules%2003012012.pdf, with Local Rules of the United States District Court for the Southern
and Eastern Districts of New York (effective Jul. 11, 2011), https://img.nyed.uscourts.gov/files
/local_rules/Local%20Rules%2007112011.pdf. The Government incorrectly contends that there
is no specific rule under Local Criminal Rules providing for reconsideration of a ruling in a
criminal matter. See ECF No. 814 at 1-2. The Federal Rules of Criminal Procedure do not
provide for motions for reconsideration.


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385, 389 (S.D.N.Y. 2006) (deciding motion for reconsideration in criminal case by applying

standard for Local Civil Rule 6.3); United States v. Goldenberg, No. 04 Cr. 159 (NGG), 2006

WL 1229152, at *1 (E.D.N.Y. May 5, 2006) (same); United States v. Leaver, 358 F. Supp. 2d

273, 277 (S.D.N.Y. 2005) (same); United States v. Delvi, No. 01 Cr. 74 (SAS), 2004 WL

235211, at *1 (S.D.N.Y. Feb. 6, 2004) (same); United States v. Greenfield, No. 01 Cr. 401

(SAS), 2001 WL 1230538, at *1 (S.D.N.Y. Oct.16, 2001) (same). Consistent with this

longstanding practice, “courts generally supplement Local Crim. R. 49.1(d) with the standard for

civil reconsideration motions under Local Civ. R. 6.3.” Baldeo, 2015 WL 252414, at *1-2; see

United States v. Vinas, No. 07 Cr. 211 (GBD), 2019 WL 417747, at *1 (S.D.N.Y. Jan. 9, 2019)

(same); United States v. Rice, No. 96 Cr. 407 (SJF), 2015 WL 7459925, at *1 (E.D.N.Y. Nov.

24, 2015) (same); United States v. FNU LNU, No. 09 Cr. 543 (RJS), 2015 WL 13307424, at *1

(S.D.N.Y. Nov. 13, 2015) (same); United States v. Wilson, 920 F. Supp. 2d 287, 292 n. 3

(E.D.N.Y. 2012) (same).

       In addition to the Local Rules, motions for reconsideration in both civil and criminal

cases have been analyzed under various Federal Rules of Civil Procedure. See Goldenberg, 2006

WL 1229152, at *1 (“While there is no specific rule governing criminal motions to reconsider, a

court conducting a criminal case is permitted to draw from and mirror a practice that is

sanctioned by the Federal Rules of Civil Procedure.”) (internal citation & quotation marks

omitted). Motions for reconsideration may be brought pursuant to Federal Rules of Civil

Procedure 54(b), 59(e), and 60(b). See Fed. R. Civ. P. 54(b) (allowing the court to revise any

order or other decision adjudicating fewer than all claims before the entry of a judgment

adjudicating all claims); Fed. R. Civ. P. 59(e) (providing for motion to alter or amend a

judgment); Fed. R. Civ. P. 60(b) (providing for relief from a final judgment, order, or



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proceeding). Courts have analyzed motions for reconsideration under the Federal Rules of Civil

Procedure and Local Rules using the same standards. See, e.g., Thomas v. Venditto, No. 11 Civ.

6084 (ADS) (ARL), 2020 WL 927709, at *2-3 (E.D.N.Y. Feb. 26, 2020) (discussing the

reconsideration standard in the context of both Local Civil Rule 6.3 and Rule 54(b));

R.F.M.A.S., Inc. v. Mimi So, 640 F. Supp. 2d 506, 509 (S.D.N.Y. 2009) (discussing the

reconsideration standard in the context of both Local Civil Rule 6.3 and Rule 59(e)); In re

Facebook, Inc., IPO Sec. & Derivative Litig., 43 F. Supp. 3d 369, 373 (S.D.N.Y. 2014), aff’d sub

nom. Lowinger v. Morgan Stanley & Co., 841 F.3d 122 (2d Cir. 2016) (“The standards

governing motions under Local Rule 6.3 . . . and [Rule] 60(b) are the same.”).

       The standard for a motion for reconsideration is “strict, and reconsideration will generally

be denied.” Hochstadt v. New York State Educ. Dep’t, 547 F. App’x 9, 11 (2d Cir. Sept. 19,

2013) (internal citation & quotation marks omitted). The decision to grant a motion for

reconsideration is committed to the sound discretion of the district court. See In re Molycorp,

Inc. Secs. Litig., 13 Civ. 5697 (PAC), 2016 WL 3002424, at *2 (S.D.N.Y. May 23, 2016)

(internal citation & quotation marks omitted).

       Even though the Government’s motion is only brought pursuant to Local Civil Rule 6.3,

this Court will analyze the motion under both the Local Rules and the Federal Rules of Civil

Procedure.

       As a threshold matter, the Government’s motion for reconsideration does not satisfy either

Local Civil Rule 6.3 or Local Criminal Rule 49.1(d). Under the Local Rules, court may only

grant reconsideration where the moving party points to matters “overlooked” by the court during

its original consideration of the motion. See, e.g., Local Crim. R. 49.1(d); Local Civ. R. 6.3;

Black v. Diamond, 163 F. App’x 58, 61 (2d Cir. Jan. 19, 2006) (“To merit reconsideration, a



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movant must point to law or facts overlooked by the court in its initial ruling.”); Shrader, 70 F.3d

at 257 (“[R]econsideration will generally be denied unless the moving party can point to

controlling decisions or data that the court overlooked . . . .”); Wilson, 920 F. Supp. 2d at 292;

United States v. Robinson, No. 16 Cr. 545 (ADS), 2018 WL 5928120, at *21 (E.D.N.Y. Nov. 13,

2018); Sikhs for Justice v. Nath, 893 F. Supp. 2d 598, 605-06 (S.D.N.Y. 2012). The requirements

of Local Criminal Rule 49.1 and Local Civil Rule 6.3 are strictly construed. See Corley v.

Farrell, No. 18 Civ. 0763 (CM), 2020 WL 416446, at *2 (S.D.N.Y. Jan. 15, 2020) (noting that

Local Criminal Rule 49.1(d) and Local Civil Rule 6.3 are “narrowly construed and strictly

applied”); see also Staskowski v. Cty. of Nassau, No. 05 Civ. 5984 (SJF) (WDW), 2009 WL

10701459, at *1 (E.D.N.Y. May 28, 2009) (noting that Local Civil Rule 6.3 is “strictly

construed”). As such, courts generally deny motions for reconsideration based on “new matters

which were never put before the Court during the initial motion.” Baldeo, 2015 WL 252414, at

*2; see Rafter v. Liddle, 288 F. App’x 768, 769 (2d Cir. 2008) (“[The court] [should] not consider

facts not in the record to be facts that the court overlooked.”). Courts instead apply law-of-the-

case principles so as not to relitigate issues already decided.

       Here, the Government’s motion relies on documents from the New Jersey Action: Judge

Hayden’s Opinion filed on August 26, 2019; two attorney declarations sworn to on September

12, 2019; and two attorney declarations sworn to around October 15, 2019. See ECF No. 814.

Such documents did not exist at the time this Court or District Judge Garaufis initially

determined that Nxivm was not defunct. There is no question that the Government only presents

new matters which were never put before the Court during the initial motion. The Government

does not contend that the Court overlooked any factual matter and does not point to any change




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in controlling law that would change this Court’s prior determination.6 Thus, the Local Rules are

not the proper procedural tools for the Government’s motion for reconsideration.

       Federal Rules of Civil Procedure 59(e) and 60(b) are also inapplicable to the

Government’s motion. Rule 59 permits alteration or amendment of a “judgment.” See Fed. R.

Civ. P. 59(e). “Judgment” is defined as “a decree and any order from which an appeal lies.”

Fed. R. Civ. P. 54(a). The Government’s motion does not seek reconsideration of a judgment or

order from which an appeal lies. Indeed, this Court’s April 4, 2019 Order, and the District

Judge’s April 26, 2019 Order affirming it, are interlocutory orders that cannot be appealed. See

Upjohn Co. v. Imbriolo, 98 F. App’x 24, 24 (2d Cir. Jan. 27, 2004) (“Discovery orders are not

final orders but are interlocutory that must await final judgment to be appealed.”) (internal

quotation marks & citation omitted). The same is true for Rule 60(b), which applies only to

“final” orders, judgments, or proceedings. See Grand River Enters. Six Nations, Ltd. v. King,

No. 02 Civ. 5068 (JFK), 2009 WL 1739893, at *2 n.1 (S.D.N.Y. June 16, 2009) (“By its express




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  Local Criminal Rule 49.1(d) and Local Civil Rule 6.3 provide that a motion for reconsideration
should be filed and served within 14 days after the Court’s determination of the original motion.
See Local Crim. R. 49.1(d); Local Civ. R. 6.3. The Government brings this motion for
reconsideration more than seven months after this Court’s April 4, 2019 Order, compare ECF
No. 814 with ECF No. 502, and untimeliness alone is generally sufficient grounds for denying
the motion. See, e.g., First Horizon Bank v. Moriarty-Gentile, No. 10 Civ. 289 (KAM) (RER),
2013 WL 6271840, at *3 (E.D.N.Y. Dec. 4, 2013) (denying motion for reconsideration as, inter
alia, untimely). The 14-day time limit to file a motion for reconsideration does not apply where
“newly discovered evidence” is the purported basis for reconsideration or where the motion for
reconsideration is brought pursuant to Rule 54(b). See, e.g., Cunningham v. Cornell Univ., No.
16 Civ. 6525 (PKC), 2020 WL 1165778, at *1 (S.D.N.Y. Mar. 11, 2020) (citing Sys. Mgmt. Arts
Inc. v. Avesta Techs., Inc., 160 F. Supp. 2d 580, 583 (S.D.N.Y. 2001)); Fed. R. Civ. P. 54(b)
(allowing orders adjudicating fewer than all claims to be “revised at any time before the entry of
a judgment adjudicating all the claims”); Tran v. Tran, No. 91 Civ. 6818 (RPP), 1998 WL 19996,
at *2 (S.D.N.Y. Jan. 21, 1998) (finding that plaintiff’s motion for reconsideration under Rule
54(b) is timely because case is still pending).
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terms, Rule 60(b) applies only to final orders and not interlocutory ones. [] Since the discovery

orders at issue here are interlocutory orders[] Rule 60(b) has no application.”) (citations omitted).

       The Government’s motion may nonetheless be evaluated under Rule 54(b). Federal Rule

of Civil Procedure 54(b) provides the Court with express authority to reconsider all interlocutory

orders and its reasoning can be extended to criminal cases. See United States v. LoRusso, 695

F.2d 45, 53 (2d Cir. 1982) (addressing both civil and criminal cases and stating that “district

court has the inherent power to reconsider and modify its interlocutory orders prior to the entry

of judgment”). This Court’s prior determination that Nxivm is not defunct and that it may assert

privileges is a discovery ruling that properly meets the definition of an interlocutory order.

Nonetheless, even if Rule 54(b) may provide an avenue for the Government to request

reconsideration of this Court’s prior determination, the Government “must do so within the

strictures of the law of the case doctrine.” Virgin Atl. Airways, Ltd. v. Nat’l Mediation Bd., 956

F.2d 1245, 1255 (2d Cir. 1992).

       B. Law-of-the-Case Doctrine Bars Reconsideration

       Having determined that the Government’s motion for reconsideration may be

procedurally proper under Federal Rule of Civil Procedure 54(b) and Local Criminal Rule

49.1(d), this Court next considers whether it should adhere to its prior decision under the “law of

the case” doctrine. Based on the Government’s submission, this Court sees no reason to exercise

its power to depart from the law of the case.

       The law-of-the-case doctrine “counsels a court against revisiting its prior rulings in

subsequent stages of the same case absent cogent and compelling reasons[.]” Jackson v. New

York, 523 Fed. Appx. 67, 69 (2d Cir. 2013). The purpose of the doctrine is to maintain

consistency during the course of a single continuing lawsuit. See 18B Fed. Prac. & Proc. Juris. §


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4478 (2d ed.). “[W]here litigants have once battled for the court’s decision, they should neither

be required, nor without good reason permitted, to battle for it again.” Official Comm. of

Unsecured Creditors of Color Tile, Inc. v. Coopers & Lybrand, LLP, 322 F.3d 147, 167 (2d Cir.

2003) (internal citation & quotation marks omitted). The doctrine is discretionary and “does not

limit a court’s power to reconsider its own decisions prior to final judgment.” Ezra v. Bristol-

Myers Squibb Co., 784 Fed. Appx. 48, 50 (2d Cir. 2019) (internal citation omitted). The “cogent

and compelling reasons” justifying a court’s revisitation of a prior ruling generally fall into three

categories: “(1) an intervening change of controlling law, (2) the availability of new evidence, or

(3) the need to correct a clear error or to prevent manifest injustice.” Id. These three categories

allow the moving party to point the court to “matters[] that might reasonably be expected to alter

the [prior] conclusion reached by the court.” Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d

Cir. 1995).

       The Government’s motion for reconsideration is based solely on purported new evidence:

documents that were filed in the New Jersey Action subsequent to this Court’s finding that

Nxivm is not defunct. See ECF No. 814 at 2-3. A motion for reconsideration brought on the

basis of “new evidence” must satisfy all four prongs of the following test: “(1) newly discovered

evidence is of facts existing at the time of the prior decision; (2) the moving party is excusably

ignorant of the facts despite using due diligence to learn about them; (3) newly discovered

evidence is admissible and probably effective to change the result of the former ruling; and (4)

the newly discovered evidence is not merely cumulative.” Fields v. Merrill Lynch, Pierce,

Fenner & Smith, Inc., No. 03 Civ. 8363 (SHS), 2004 WL 626180, at *2 (S.D.N.Y. Mar. 30,

2004) (citation omitted); see United States v. Persico, 645 F.3d 85, 109 (2d Cir. 2011) (applying

substantially similar test for motion for new trial on the basis of newly discovered evidence);



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United States v. Oates, 445 F. Supp. 351, 353 (E.D.N.Y. 1978) (applying same test in criminal

case for motion to reconsider motion to suppress on the basis of newly discovered evidence).

           Here, the Government fails to satisfy the third factor. The purported “new evidence”

from the New Jersey Action is not admissible or effective to change this Court’s prior

determination. This Court does not determine whether the Government satisfies the other

factors.

                          i. The Government’s “New Evidence” Is Inadmissible

           On its motion for reconsideration, the Government relies on multiple documents from the

New Jersey Action: the Opinion of Judge Hayden and four declarations of Nxivm’s counsel. See

ECF Nos. 814-1 - 814-3. The Government argues, “[i]n light of [the] sworn declarations that no

corporate representative of Nxivm appears to exist because Nxivm is no longer in operation,

Nxivm is defunct and may not assert attorney-client and work-product privileges.” ECF No. 814

at 3. Although not explicitly articulated, the Court interprets the Government’s motion as asking

this Court to take judicial notice of the documents filed in the New Jersey Action.7 In essence,

the Government hopes this Court will rely upon the truth of the content of these documents to

make the factual determination that Nxivm is now a defunct corporation without the ability to

assert privilege.

           In doing so, the Government fails to address the well-established limitation on this

Court’s ability to take judicial notice of records that are filed in another action. “A court may

take judicial notice of a document filed in another court not for the truth of the matters asserted

in the other litigation, but rather to establish the fact of such litigation and related filings.” Glob.




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 The Government does not provide an independent basis for admitting these documents as
evidence (i.e. submission of an affidavit of person with personal knowledge).
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Network Commc’ns, Inc. v. City of New York, 458 F.3d 150, 157 (2d Cir. 2006) (citing Int’l

Star Class Yacht Racing Ass’n v. Tommy Hilfiger U.S.A., Inc., 146 F.3d 66, 70 (2d Cir. 1998));

see Liberty Mut. Ins. Co. v. Rotches Pork Packers, Inc., 969 F.2d 1384, 1388 (2d Cir. 1992)

(finding that district court improperly relied on filings in another court to establish disputed facts

in pending case). That is, this Court may take judicial notice of the fact that there was a New

Jersey Action and that Nxivm’s counsel made a motion to withdraw as counsel. On the other

hand, this Court cannot take judicial notice of Judge Hayden’s dicta that, “NXIVM is no longer

in operation,” see ECF No. 814, Ex. A at 3, or the statement of Nxivm’s counsel that, “[he has]

received no direction from NXIVM regarding how, or whether, to proceed,” see id., Ex. C,

Crockett Decl. ¶ 3. To do so would improperly relieve the Government’s burden to establish the

truth of such contested facts through admissible evidence.

                       ii. The Government’s “New Evidence” Is Ineffective To Change The
                           Court’s Prior Holding

       Even if the Court were to consider the Government’s “new evidence,” the documents

from the New Jersey Action are not sufficiently direct or relevant to change the Court’s prior

determination that Nxivm is not defunct and may assert privileges.

       First, the Government’s reliance on Judge Hayden’s Opinion in the New Jersey Action is

misplaced. Judge Hayden’s Opinion was issued after holding a bench trial on the issue of

whether cross-claimant, Interfor, Inc., was entitled to contractual indemnification from Nxivm

pursuant to an indemnity agreement. See ECF No. 814-1. Judge Hayden observed in passing,

only in the introduction section of her Opinion, “that NXIVM is no longer in operation.” See id.

at 3. It is telling that such observation was not made in either the “Findings of Fact” or the

“Conclusions of Law” sections of her Opinion. Indeed, for that same reason, Judge Hayden’s

observation “that NXIVM is no longer in operation” cannot have any collateral estoppel effect in

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this case. See Levy v. Kosher Overseers Ass’n of Am., Inc., 104 F.3d 38, 41 (2d Cir. 1997)

(reciting four-part test for doctrine of collateral estoppel, which requires that issues in both

proceedings be “identical” and “actually litigated and actually decided”). In addition, that

observation has no dispositive effect here. Judge Hayden’s observation was not made in the

context of a determination regarding Nxivm’s status as a corporation or Nxivm’s ability to assert

privileges. That is, Judge Hayden’s Opinion did not deal with the question at issue in this case:

whether Nxivm is a defunct corporation that cannot assert privileges. Even accepting as true

Judge Hayden’s dicta that “NXIVM is no longer in operation,” a company is not defunct “simply

because it ceases its normal business operations.” Official Comm. of Admin. Claimants ex rel.

LTV Steel Co. v. Moran, 802 F. Supp. 2d 947, 949 (N.D. Ill. 2011). For these reasons, this

Court finds that Judge Hayden’s Opinion is insufficient “to change the result of the former

ruling.”

       Second, the Government’s reliance on the declarations of Mr. Crockett, Mr. Tajima and

Mr. English is misplaced. In sum, the declarations state that counsel could not contact Ms.

Salzman or other “long-time contacts” at Nxivm to receive instructions on how to proceed in the

New Jersey Action because Nxivm was “no longer in operation.” See ECF Nos. 814-1 - 814-3.

Mr. Crockett, Mr. Tajima and Mr. English were not addressing the question of whether Nxivm is

a defunct corporation. Instead, counsel made such statements in the context of a motion to

withdraw, where their sole purpose was to present facts to justify ceasing representation of

Nxivm. For these reasons, the declarations of Mr. Crockett, Mr. Tajima and Mr. English are not

“probably effective to change the result of the former ruling.”

       The Government’s “new evidence” is insufficient to show that Nxivm is defunct. A dead

or defunct corporation has “no one who can speak for [the] corporation in order to assert the



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privilege.” S.E.C. v. Carrillo Huettel LLP, No. 13 Civ. 1735 (GBD) (JCF), 2015 WL 1610282,

at *2 (S.D.N.Y. Apr. 8, 2015); cf. Gilliland v. Geramita, No. 05 Civ. 1059 (TFM), 2006 WL

2642525, at *3 (W.D. Pa. Sept. 14, 2006) (“Defendant cannot meet its burden to prove that the

privilege has been validly asserted because there is no person with authority to properly invoke

the privilege.”); In re Fundamental Long Term Care, Inc., No. 11 BK 22258 (MGW), 2012 WL

4815321, at *9 (Bankr. M.D. Fla. Oct. 9, 2012) (“[W]hen a company is dissolved or defunct,

there is no one left to assert (or waive) the privilege.”). Conversely, a company with

management, or an individual authorized to act on the corporation’s behalf, is not dead or

defunct or incapable of asserting and waiving privileges. See, e.g., Commodity Futures Trading

Comm’n v. Weintraub, 471 U.S. 343, 351-52 (1985) (recognizing bankruptcy trustee’s right to

control a bankrupt corporation’s attorney-client privilege); Official Comm. of Admin. Claimants,

802 F. Supp. 2d at 949-50 (holding that company retained and properly asserted privilege where,

inter alia, the company “retains management capable of asserting the privilege”). The question

whether a corporation is dead or defunct (such that there is no privilege to be asserted) is a matter

of federal common law where a case is governed by federal law, as it is here. See S.E.C. v.

Carrillo Huettel LLP, No. 13 Civ. 1735 (GBD) (JCF), 2015 WL 1610282, at *2 (S.D.N.Y. Apr.

8, 2015) (“[W]here federal law supplies the rule of decision, as it does here, the question of

whether the corporate attorney-client privilege survives the demise of the corporation is

answered by reference to federal common law.”).

       In determining that Nxivm was not defunct for privilege purposes in the prior Orders, the

Court found that Nxivm is represented by Mr. Sullivan, who has the power to assert or waive

privilege on behalf of Nxivm. See ECF No. 502 at 3; ECF No. 601 at 6. The Government’s

“new evidence” does not bear on Mr. Sullivan’s ability to assert privileges on Nxivm’s behalf.



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Neither Judge Hayden’s Opinion nor the declarations of Nxivm’s counsel in the New Jersey

Action contradict Mr. Sullivan’s assertion that he was retained by Nxivm to represent the

interests of the company, that he was delegated the power to assert and waive privileges on

behalf of the corporation, or that he continues the corporation’s necessary operations. See ECF

No. 669 ¶¶ 12, 19. The declarations also do not show that Mr. Sullivan’s authority to assert and

waive privileges on behalf of Nxivm have been revoked in the time since this Court’s April 4,

2019 Order or Judge Garaufis’s April 26, 2019 Order. See id. ¶ 20. Mr. English’s contention

that he unsuccessfully attempted to contact Mr. Sullivan once falls short of warranting a

reconsideration of this Court’s prior determination. See ECF No. 818-1. Indeed, the

Government does not offer that they sought any information from Mr. Sullivan regarding the

status of Nxivm or his representation of Nxivm. For these reasons, the “new evidence” is not

“probably effective to change the result of the former ruling.”

       The Government’s “new evidence,” even assuming it is admissible, fail to show a factual

basis meriting reconsideration of this Court’s Orders. See Kolel Beth Yachiel Mechil of

Tartikov, 729 F.3d at 108 (affirming denial of motion for reconsideration where “new evidence”

submitted by appellants do not “amount[] to direct and definite evidence [] sufficient [] to

reconsider the Court’s prior Decision and Order”); Cunningham v. Cornell Univ., No. 16 Civ.

6525 (PKC), 2020 WL 1165778, at *2 (S.D.N.Y. Mar. 11, 2020) (denying motion for

reconsideration where “new evidence” was not relevant to court’s basis for granting summary

judgment).

                      iii. There Is No Other Compelling Reason For Reconsideration

       This Court finds no compelling reason to grant the Government’s motion for

reconsideration. As of the Government’s filing of this motion, all six Defendants in this case



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have either pled guilty or had a verdict of guilty entered against them. See ECF No. 473 (Lauren

Salzman and Allison Mack plead guilty); ECF No. 474 (Nancy Salzman pleads guilty); ECF No.

735 (verdict of guilty entered against Keith Raniere); ECF No. 756 (Clare Bronfman and Kathy

Russell plead guilty). The only proceedings remaining are the sentencings of each of the

Defendants. See, e.g., Dkt. Entry 7/15/2019 (adjourning Allison Mack’s and Lauren Salzman’s

sentencing hearing); Dkt. Entry 1/21/2020 (adjourning Kathy Russell’s sentencing); Dkt. Entry

5/13/2020 (adjourning Keith Raniere’s sentencing hearing); Dkt. Entry 5/22/2020 (adjourning

Clare Bronfman’s sentencing hearing). There is no more discovery to be had. Indeed, the

Government does not explain why this Court should reconsider its prior holding or present any

purpose for any additional discovery that may be obtained if this Court were to set aside Nxivm’s

right to assert privilege. The Government does not argue that it would be prejudiced without the

discovery. Accordingly, this Court finds that the need for finality and consistency in this case

require that the Court adhere to its prior Orders.

   III.      CONCLUSION

          For the reasons set forth herein, the Government’s motion for reconsideration is denied.

Dated: Brooklyn, New York
       June 22, 2020



                                                       _____   Vera M. Scanlon______
                                                                   VERA M. SCANLON
                                                               United States Magistrate Judge




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